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                UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

GEOFFREY CALHOUN, et al.               )
                                       )
                Plaintiffs,            )
                                       )
    v.                                 ) Case No. 1:09-CV-3286-TCB
                                       )
RICHARD PENNINGTON, et al.             )
                                       )
                Defendants.            )
                                       )




 DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPORT TO COURT
           RE CITIZEN COMPLAINT SANCTIONS



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                                 INTRODUCTION

         In its Response to Plaintiffs’ Report, the City acknowledged it had made

mistakes but showed that it was undertaking substantial and meaningful efforts to

bring itself into compliance with the Citizen Complaint provisions of the 2018

Order. Those remedial measures range from dedicating additional City personnel

and outside counsel resources to Calhoun compliance, to implementing a new

electronic records system at a cost of over $90 million to the City.

        In their Reply, Plaintiffs claim to champion reforms to “benefit the residents

of Atlanta and the police department itself,” Dkt. 531 at 43,1 and they acknowledge

the intent of the 2018 Order to promote “future compliance rather than punishment

for past misconduct,” id. at 11. Plaintiffs largely do not dispute that the City’s recent

efforts to improve compliance with the Citizen Complaint requirements have been

successful. But rather than joining the City in its good faith efforts towards enhanced

Citizen Complaint compliance and supporting the prudent expenditure of limited

fiscal resources in furtherance of such compliance, Plaintiffs ask the Court to impose

extraordinary monetary penalties “to punish the City for past violations” and “to

encourage the City’s future and continuing compliance” with other Calhoun

provisions not at issue in this contempt proceeding. Id. at 4. In their effort to justify

such monetary penalties, Plaintiffs incorrectly accuse the City of providing “false”


1
    Page citations herein are to the ECF page number.

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and “untruthful” evidence regarding the financial impact that sanctions would have

on the City, id. at 8–9, wrongly contend the City “intends to continue violating the

Court’s Orders” regarding the investigation and adjudication of Citizen Complaints,

id. at 20, and inappropriately ask this Court to “consider[ ] when fashioning the

Court’s determination of sanctions for Citizen Complaints” Plaintiffs’ incomplete

and erroneous arguments regarding compliance with other Calhoun provisions, id.

at 31–32.

      The purpose of civil contempt sanctions in this proceeding is to coerce

compliance with the Court’s Orders addressing Citizen Complaints. The City has

shown that despite earlier missteps, it has adopted and continues to implement

meaningful remedial measures to bring itself into compliance with those Orders.

The City does not ask the Court to absolve it of all errors but instead to recognize

that these remedial measures are working and that the best use of any monetary

sanctions to further the purposes of this lawsuit is to order the City to use such

amounts to ensure that Calhoun compliance efforts continue. A multi-million-dollar

sanction would—as Mohamed Balla, the City’s Chief Financial Officer, explains in

his Supplemental Declaration attached hereto as Exhibit B (and contrary to

Plaintiffs’ speculation otherwise)—materially and adversely impact APD by

depriving it of important financial resources that otherwise could be used to

implement enhancements to areas such as police training, police recruitment, and



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the ACRB that would promote the goals of this lawsuit. The Court should reject

Plaintiffs’ demand to “punish” the City, which is contrary to the purposes of civil

contempt, and Plaintiffs’ improper invitation to consider assertions of non-

compliance with other Calhoun provisions that cannot support a Citizen Complaint

coercive sanction.

      The Court further should disregard Plaintiffs’ incorrect suggestion that the

City intends to violate the Court’s Orders by not investigating all Citizen

Complaints. Plaintiffs misunderstand the City’s evidence; the City investigates and

adjudicates all Citizen Complaints, as Lt. Justina Collins (who oversees City OPS

personnel conducting investigations into alleged APD misconduct) explains in her

Supplemental Declaration attached hereto as Exhibit A. The City has been providing

information regarding underlying policy directives to complainants for several

months now, and the City intends to provide additional information to complainants

moving forward regarding the disposition of complaints in which other potential

policy violations are identified to attempt to avoid Plaintiffs’ misunderstanding

regarding the scope of the City’s investigations.

      The Court also should deny Plaintiffs’ misplaced request that the Court extend

the 2018 Order’s monitoring provisions. Neither the March 2023 Order nor the

October 2023 Order contemplate an extension. Regardless, evidence of the City’s

significant efforts over the past several months to enhance compliance with the



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Citizen Complaint provisions and its recent substantial compliance with those

provisions refutes Plaintiffs’ argument that the City has not “develop[ed] either the

desire to comply or the procedures required to do so” that supposedly justifies an

extension. Dkt. 531 at 39 (emphasis in original). Plaintiffs have not demonstrated

and cannot demonstrate that an extension of the order is “essential,” and any such

request is unwarranted in any event. Nor can Plaintiffs justify an extension of all

monitoring provisions—including those with which Plaintiffs concede the City has

complied—with speculation that such compliance “may backslide” without

interminable monitoring. Id. at 42.

      The City regrets its earlier errors but has demonstrated that it is taking

substantial steps towards full compliance—efforts that indisputably have shown

significant success. The City asks the Court, in fashioning an appropriate order, to

reject Plaintiffs’ Report and instead to consider the important public resources at

stake and the meaningful remedial measures that the City has undertaken.

              ARGUMENT AND CITATIONS TO AUTHORITY

I.    THE MOST EQUITABLE REMEDY IS FOR THE COURT TO
      WAIVE PAYMENT AND REQUIRE THE CITY TO DEDICATE
      RESOURCES TO FUTURE CALHOUN COMPLIANCE

      This Court should exercise its discretion and direct that any sanction must be

spent by the City in complying with the requirements of this Court’s 2018 Order.

Dkt. 523 at 34–36. Dedicated resources earmarked for such compliance will best



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serve the purpose of civil contempt “to coerce the defendant into compliance with

the court’s order” and further the goals of this lawsuit by ensuring future compliance

with the Calhoun directives for years to come. In re McLean, 794 F.3d 1313, 1323

(11th Cir. 2015) (citation omitted).2

      The City’s recent and significant steps towards improved compliance with the

Citizen Complaint provisions demonstrate that no “large size of [ ] financial ‘wake

up call’” is “needed to get the attention of the City’s political leadership” to

remediate these issues. Dkt. 531 at 7. Although these changes regrettably were not

implemented to resolve all Citizen Complaint issues within the deadlines set forth in

the Court’s March 2023 Order, the City has instituted substantial remedial measures

over the past many months. These efforts include internal training, additional staff

dedicated to promoting Calhoun compliance, an overhauled Notification Letter and

mailing process, an electronic system to centralize and standardize Citizen




2
  The City respectfully submits that the other purpose of civil contempt—“to
compensate the complainant for losses sustained,” In re McLean, 794 F.3d at 1323
(citation omitted)—already has been sufficiently addressed through the City’s
$15,000 payment to Plaintiffs’ counsel as directed by the Court’s March 2023 Order.
See Dkt. 492 at 2 & n.3, 5, 6. Payment of sanctions to the United States Treasury
does not serve that purpose, and the recovery of monitoring costs of Plaintiffs’
counsel, including those associated with this contempt proceeding, already are
provided for in Section IX of the 2018 Order and are not the subject of this dispute.
See EEOC v. Guardian Pools, Inc., 828 F.2d 1507, 1515 (11th Cir. 1987) (civil
contempt compensation “is determined by the extent of the actual loss” to
complainant).

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Complaint investigation and adjudication (which now is live and being used to

process new complaints, see Supp. Decl. of Lt. Justina Collins, attached hereto as

Ex. A, at ¶ 2), and dedicated outside counsel Calhoun compliance review. Dkt. 523

at 23–28.      The City’s recent steps have been resoundingly successful, as

approximately 92 percent of Citizen Complaints that the City closed in October 2023

were finally adjudicated within 180 days, see Dkt. 523-25, and all Citizen

Complaints assigned an OPS Complaint number that the City closed in November

and December 2023, as well as in January 2024, were finally adjudicated within 180

days.3

         The significant funding required to implement these changes—including the

more than $90 million contract to modernize the City’s electronic reporting and

investigation system used to process Citizen Complaints, Dkt. 523-3 ¶ 7—has

received “the attention of the City’s political leadership,” Dkt. 531 at 7; indeed, the

City Council provided APD “authorization through legislation” in March 2023 to

procure that costly system to bring itself into compliance with the Court’s Orders,




3
  See “OPS Monthly Production for Nov. 2023,” attached hereto as Ex. C; “OPS
Monthly Production for Dec. 2023,” attached hereto as Ex. D; and “OPS Monthly
Production for Jan. 2024,” attached hereto as Ex. E. The City also finally
adjudicated within 180 days nearly all RNO files (recommend not open, which occur
in instances such as when the subject of the complaint worked for a different agency
during the incident or when body worn camera footage or other evidence clearly
disproves a complaint, see Dkt. 523-1 ¶ 16 n.5) reported in these months.

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Dkt. 523-2 ¶ 9. A Court Order requiring the City to dedicate funds to continuing

such efforts plainly will command the attention of leadership who preside over the

City’s budget.4

      Plaintiffs mischaracterize the City’s response in contending that the City asks

“the Court [to] impose no sanction at all” and that the parties “already tried that idea,

and it didn’t work.” Dkt. 531 at 10. The Court has not ordered the City to dedicate

specific financial resources towards Calhoun compliance.5 Nor does the City ask

the Court to ignore instances of non-compliance with the Citizen Complaint

provisions. Yet the law affords the Court “wide discretion to fashion an equitable

remedy for contempt that is appropriate to the circumstances.” Guardian Pools, 828

F.2d at 1515. The City’s substantial steps towards compliance have generated

significant multi-million-dollar costs. Dkt. 523 at 35. Requiring the City to dedicate




4
  Plaintiffs’ comments regarding the legal fees that the City has incurred are
inapposite. Dkt. 531 at 5. While the City has incurred fees in defending itself in
good faith in this litigation, the City’s recent substantial and costly steps towards
Citizen Complaint compliance demonstrate that the City is “spend[ing] tax
dollars . . . embracing” compliance rather than “fighting” it. Id.
5
  Plaintiffs’ concern that they cannot “trust that the City will use those funds to pay
for compliance,” Dkt. 531 at 10, is unwarranted; it is undisputed that the City already
has spent substantial funds on Calhoun compliance, and it is committed to
continuing to do so.

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amounts to ensure those costly efforts are continued would be “appropriate to the

circumstances” in furthering the goals of this lawsuit.6

      Plaintiffs improperly accuse the City of submitting “false” and “untruthful”

evidence to purportedly “actively mislead[ ] the Court” in showing that significant

sanctions very likely would materially and adversely impact APD’s budget. Dkt.

531 at 8–10. Plaintiffs’ argument is predicated entirely on their review of other City

settlement payments and speculation that because those amounts were “paid from

the City of Atlanta’s General Fund[,] . . . [t]hose payments had no financial impact

at all on the operations of the police department.” Id. at 8; see also Dkt. 528-5.



6
  The City similarly disagrees with Plaintiffs’ resistance to its request for reductions
to account for substantial compliance and certain duplicative information. Dkt. 531
at 12–15. The City does not ask the Court to modify its rulings to allow for such
issues routinely in the future and instead requests that the Court exercise its equitable
discretion in fashioning sanctions that account for the City’s recent significant
progress in bringing itself into compliance with the Court’s Orders.
Plaintiffs’ belated request for upward adjustments, see id. at 16, likewise fails. The
notification letter was delivered to Sherica Harper on July 17, 2023—167 days after
the date of complaint—thereby triggering no sanctions. See Delivery Confirmation,
attached hereto as Ex. F; Dkt. 523-8 at 5. Margaret Kimbrough’s notification was
received 196 days after the complaint, within the 205-day window supporting
substantial compliance with the 180 Day Rule, and the City respectfully submits that
it likewise should not generate sanctions in this proceeding. See Dkts. 523 at 37;
531 at 16. The City further asks that the Court exercise its equitable discretion in
finding that the City substantially complied with this Court’s March 2023 Order
governing the disclosure of Command Complaints, see Dkt. 492 at 7, as the May 13,
2023 Command Complaint was registered less than two weeks after the conclusion
of the grace period provided by this Court in the March 2023 Order and the City
ultimately disclosed the complaint to Plaintiffs (albeit untimely).

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Plaintiffs fail to recognize that APD receives all of its funds for operating expenses

as allocations from the General Fund; it has no independent source from which it

can draw funds. Supp. Decl. of Mohamed Balla, attached hereto as Ex. B, at ¶ 3.

The City is self-insured for general claims against it, and contempt sanctions would

be paid out of the taxpayer-funded General Fund and necessarily must be absorbed

by the range of services that the City provides to its residents from the General Fund.

Id. at ¶¶ 3–4.

      Millions of dollars in sanctions likely would impact APD’s ability to provide

some of the enhancements that this litigation seeks to promote. As Mr. Balla

explains, “APD is a prioritized department within the services that receive funds

from the General Fund, meaning that APD likely would have been allocated for the

purposes of enhancing the services it provides, at least in significant part, any funds

that are the subject of sanctions in this action.” Id. at ¶ 4. Over the past several

years, the City has prioritized and developed an aggressive agenda for promoting

police training, police recruitment, and ACRB review and recommendations that

foster many of the very purposes of this litigation. However, “because the City must

continue to ensure that funds are available from the General Fund to provide the

wide range of necessary baseline services to its residents,” Mr. Balla describes that

“the payment of millions of dollars in sanctions likely would have to come at the

expense of these types of enhancements in police training, police recruitment, and



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the ACRB.” Id. at ¶ 5. While Plaintiffs nominally are correct that “[s]anctions

would reduce the funds available to APD only if the City Council chooses to do

that,” Dkt. 531 at 9 (emphasis in original), the payment of potentially millions of

dollars of taxpayer-funded money in sanctions necessarily must come from

enhancements such as those that Mr. Balla identifies and that otherwise would

further the purposes of this lawsuit because the City must continue to ensure that it

provides other necessary services to its residents with its limited available funds.

II.   PLAINTIFFS INCORRECTLY ARGUE THAT THE CITY INTENDS
      TO CONTINUE TO VIOLATE THE COURT’S ORDERS

      In their Report, Plaintiffs asked this Court to modify the 2018 Order to require

the City “to report to Plaintiffs and Complainants the underlying law, rule, or SOP

that was investigated whenever an allegation or disposition regarding ‘Conformance

to Directives’ or ‘Appropriate Action Required’ is presented to a Complainant or the

Plaintiffs in any form.” Dkt. 515 at 47–48. The City responded, showing that

imposing burdensome heightened reporting requirements was unwarranted because

Plaintiffs failed to prove a change necessitating modification of the 2018 Order and,

regardless, that the City had begun to provide such information. Dkt. 523 at 43–47.

Rather than address these issues, Plaintiffs misconstrue the City’s Response and

construct a strawman to attack in wrongly contending the City intends to “not

investigat[e] the actual complaint made by some complainants.” Dkt. 531 at 21.




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      The City investigates and finally adjudicates all Citizen Complaints, and the

Court should reject Plaintiffs’ misdirection to attempt to sway the Court into

modifying the 2018 Order. As Lieutenant Collins, who is directly involved in APD’s

Calhoun compliance efforts and oversees OPS personnel conducting investigations

into APD misconduct, see Dkt. 523-2 ¶ 3, affirms in her Supplemental Declaration,

“OPS reviews and investigates all complaints raised by all complainants, which

includes each and every allegation raised in those complaints.” Ex. A ¶ 5.7 When

OPS identifies “other potential policy violations” in investigating a Citizen

Complaint, “[t]he investigation into the other potential policy violation is in addition

to, and not in lieu of, the investigation into the particular complaint raised by the

complainant.” Id. at ¶ 5.8 This holds true for each of the complaints that Plaintiffs


7
  Plaintiffs incorrectly contend that the City argues that “a Citizen Complaint
alleging the violation of a specific APD SOP does not require adjudication if the
SOP does not also neatly correspond to a ‘Work Rule.’” Dkt. 531 at 23. APD’s
Disciplinary Process SOP mandates the investigation and appropriate discipline for
“Work Rules or City ordinance violations.” Dkt. 523-1 at 17. Because certain
directives do not have specific Work Rules (such as the use of body worn cameras
for public interactions with law enforcement), OPS cites APD Work Rule 4.2.33
Conformance to Directives pursuant to APD’s Disciplinary Process SOP. OPS does,
however, investigate all such complaints regardless of whether they neatly fall
within a Work Rule or City ordinance violation, Ex. A ¶ 5, and APD now provides
underlying policy directive information to complainants, id. at ¶ 3.
8
  Lieutenant Collins explains that this also is true as to the excessive force example
that she describes in Paragraph 21 of her original Declaration, Ex. A ¶ 7; see also
Dkt. 523-2 ¶ 21, which Plaintiffs misconstrue in arguing that “OPS will investigate
the reporting violation rather than the Complainant’s actual complaint about
excessive force,” Dkt. 531 at 25 (emphasis in original).

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cite in their reply brief in contending that the City is “not investigating the actual

complaint made by the Complainant,” see Dkt. 531 at 26–28, 26 n.9 (emphasis in

original), as Lieutenant Collins details in her Supplemental Declaration. Ex. A

¶¶ 6—8.

      For example, in OPS File No. 23-C-0537-SOP, Plaintiffs wrongly contend

that “APD made no inquiry into whether the citizen had been falsely arrested” and

investigated “only whether the officer activated her Body Worn Camera” (“BWC”).

Dkt. 531 at 27 (emphasis in original). OPS conducted a preliminary investigation

and determined that the officer had received information on the officer’s mobile data

terminal regarding a warrant of a fugitive from justice.        Ex. A ¶ 8(e).     The

preliminary investigation showed that the warrant instructed that the warrant and its

extradition status must be verified, which provided the officer with reasonable

articulable suspicion to conduct the traffic stop and lawfully detain the citizen. Id.

The citizen was released when the jurisdiction advised that it did not wish to

extradite the citizen. Id. OPS deemed the citizen’s complaint to be unfounded, but

OPS opened an investigation into the potential BWC policy violation. Id. The City

thus investigated and finally adjudicated both the actual complaint of the

complainant and another potential policy violation identified during the

investigation.




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      With regard to Plaintiffs’ request for modification of the 2018 Order as to the

Conformance to Directives and Appropriate Action Required categories, the Court’s

Orders do not require the level of specificity that Plaintiffs demand, which would

impose a burdensome manual review and notification process to identify the

underlying policy directive in each Notification Letter when the City already

identifies the relevant Work Rule or City ordinance.9 Regardless, the City began

identifying the underlying policy directive in its Notification Letters several months

ago, Ex. A ¶ 3, which Plaintiffs do not dispute. OPS also intends to provide

additional information in its Notification Letters moving forward to attempt to avoid

Plaintiffs’ misunderstanding regarding whether OPS investigates all complaints. In

particular, “[i]n situations in which OPS determines the complainant’s allegation is

unsupported during its preliminary investigation but identifies and investigates

another potential policy violation, OPS intends to identify in an initial notification




9
  In this regard, the 2018 Order requires only that the City indicate, for complaints
that are assigned an OPS Complaint number, “the law, rule, or SOP the officer was
alleged to have violated.” Dkt. 434 § III(C)(1)(a)(v). “[L]ong standing precedent
evinces a strong public policy against judicial rewriting of consent decrees. [A]
district court may not impose obligations . . . that are not unambiguously mandated
by the decree itself.” Reynolds v. Roberts, 207 F.3d 1288, 1300 (11th Cir. 2000)
(second alteration in original) (emphasis added) (citation omitted). The City’s
citation to APD Work Rule 4.2.33 (Conformance to Directives) and APD Work Rule
4.1.1 (Appropriate Action Required) complies with the 2018 Order’s directive, and
the 2018 Order does not “unambiguously mandate[ ]” that the City also must
describe underlying policy violations, Reynolds, 207 F.3d at 1300.

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letter to the complainant that (a) OPS determined the original allegation was

unsupported, and (b) another potential policy violation was identified and will be

investigated.   OPS will inform the complainant of the disposition of that

investigation in a separate notification letter that closes out the investigation.” Ex.

A. at ¶ 9.10

       Plaintiffs thus wrongly argue that “the City is unwilling to fully, truthfully,

and accurately disclose to Complainants how . . . investigations were resolved.” Dkt.

531 at 21. No modification of the Court’s Orders is warranted.

III.   THE COURT SHOULD NOT CONSIDER PLAINTIFFS’
       ACCUSATIONS    OF   NON-COMPLIANCE     WITH   OTHER
       PROVISIONS OF THE 2018 ORDER TO INCREASE THE AMOUNT
       OF SANCTIONS HERE

       Plaintiffs improperly ask the Court to consider “broader non-compliance

issues” with other aspects of the 2018 Order “when fashioning the Court’s

determination of sanctions for Citizen Complaints.” Dkt. 531 at 31–32. The only

requirements at issue in this contempt proceeding relate to Citizen Complaints. If

the Court decides to impose sanctions, it should do so only in an amount necessary

to coerce compliance with the Citizen Complaint provisions, and Plaintiffs’




10
  The City also has notified and will continue to notify complainants of their right
to inspect the investigation file and ask questions to an OPS Lieutenant regarding
the disposition. Dkt. 523-2 ¶ 24.

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accusations regarding the City’s compliance with other provisions of the 2018 Order

cannot support increased sanctions in this proceeding.

      Contempt sanctions must be tailored to coerce compliance with specific

provisions of an order. If a party is found to be in contempt, “a court cannot punish

the subject of the action for his past violations of the order; instead, it must create

prospective sanctions to induce obedience by the contemnor in the future.” Taylor

v. Teledyne Techs., Inc., 338 F. Supp. 2d 1323, 1346 (N.D. Ga. 2004). “This is so

because civil contempt is remedial in nature.” Id. “Accordingly, before issuing a

civil contempt citation, a court must be able to identify the specific action that the

contemnor is being directed to take or forego and then coerce compliance by setting

out the sanctions that will befall the subject should he continue not to follow the

court’s order.” Id. at 1347 (emphasis added). The contemnor must “be afforded the

opportunity to purge his sanction of a fine, in the civil context, where a fine is not

compensatory.” FTC v. Leshin, 618 F.3d 1221, 1239 (11th Cir. 2010).

      This contempt proceeding relates solely to the City’s compliance with the

Citizen Complaint provisions of the 2018 Order. Plaintiffs’ motion triggering this

proceeding requested an order “to address and correct . . . non-compliance with the

‘Citizen Complaint’ requirements of Section III of the November 29, 2018, Order.”

Dkt. 473 at 1; see also Dkt. 485 (Second Motion for Contempt relating to same

issues). The Court’s March 2023 Order identified coercive sanctions that could be



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imposed if the City did not comply with Citizen Complaint requirements, Dkt. 492

at 2–7, and the Court subsequently ordered Plaintiff to calculate sanctions under the

March 2023 Order “to ensure the City’s compliance with this Court’s repeated

orders,” Dkt. 512 at 2.

      Any coercive sanction that the Court may impose must relate to “the specific

action” that the March 2023 Order “directed [the City] to take,” Taylor, 338 F. Supp.

2d at 1347, which related solely to the Citizen Complaint requirements of the 2018

Order, Dkt. 492 at 2–7. Consideration of other conduct to increase the amount of

sanctions would not be sufficiently tethered to the Court’s “prospective sanctions to

induce obedience by the contemnor in the future” relating to Citizen Complaints and

thus would not be “remedial in nature.” Taylor, 338 F. Supp. 2d at 1346. If Plaintiffs

wanted the Court to consider alleged violations of other Calhoun provisions, they

should have moved the Court to issue a show cause order as to those specific

requirements and then proved any such claimed violation by clear and convincing

evidence; if the Court finds a violation,11 the Court “must create prospective



11
    To be clear, the City disputes Plaintiffs’ accusation that there are “serious
problems” regarding the City’s compliance with other provisions of the 2018 Order,
including but not limited to Stop and Think Forms. Dkt. 531 at 30. Plaintiffs rely
on unsupported allegations that fail to demonstrate non-compliance. The City
provides training regarding Stop and Think Forms as contemplated by the 2018
Order. The City will continue to respond to and work in good faith with Plaintiffs
if they raise concerns regarding the City’s compliance with other Calhoun provisions


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sanctions to induce obedience by the contemnor in the future” as it relates to the

proven “past violations of the order.” Id. at 1345–46. The City then must “be

afforded the opportunity to purge his sanction of a fine.” Leshin, 618 F.3d at 1239.

Plaintiffs have not done so, and the Court has not issued prospective sanctions

relating to other Calhoun provisions.         The Court should reject Plaintiffs’

inappropriate request to consider alleged non-compliance with other provisions in

issuing a remedial sanction relating to Citizen Complaints.12

IV.   THE COURT SHOULD DENY PLAINTIFFS’ REQUEST TO EXTEND
      THE MONITORING PROVISIONS OF THE 2018 ORDER

      Plaintiffs’ request to extend the monitoring provisions of the 2018 Order is

premature and unwarranted. Dkt. 531 at 38–43.

      Plaintiffs fail to explain why it would be appropriate for the Court to ignore

the significant efforts of the City over the past several months to enhance compliance

with the Citizen Complaint requirements, as well as the City’s forthcoming efforts



and, if Plaintiffs do bring such issues to the Court for review, the City will respond
fully to such allegations at the appropriate time.
12
  Plaintiffs again erroneously accuse the City of making “false” statements, this time
supposedly by “clearly suggesting that there are no other compliance issues” with
other Calhoun provisions. Dkt. 531 at 30. The City correctly noted in its Response
that it has reviewed and addressed issues that Plaintiffs have raised and that
“[t]hough the parties have differing perspectives on the application of relevant
policies, no such incidents have necessitated the Court’s intervention.” Dkt. 523 at
32. The City referenced other Calhoun provisions in its Response to underscore that
the amount of sanctions should be commensurate with the Citizen Complaint
provisions, which are but one aspect of the 2018 Order.

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during the remaining nine months under the 2018 Order’s monitoring provisions, in

deciding whether to extend the Citizen Complaint monitoring provision (or any

monitoring provision) of the 2018 Order. The monitoring provisions do not sunset

until November 29, 2024. Dkt. 434 §§ II(D), III(D), IV(C), V(D), VII(D), IX(4).

The Court “may use its compliance enforcement power to extend one or more

provisions of a decree only if such compliance enforcement is essential to remedy

the violation and thus provide the parties with the relief originally bargained for in

the consent order.” Holland v. N.J. Dep’t of Corr., 246 F.3d 267, 283 (3d Cir. 2001)

(emphasis added).     That determination can be reached only where “time and

experience have demonstrated that the decree has failed to accomplish the result that

it was specifically designed to achieve.” Id. (citation omitted). Evidence regarding

whether the City has complied with the 2018 Order in the year prior to the expiration

of the monitoring provisions plainly bears upon whether “the decree has failed to

accomplish the result that it was specifically designed to achieve.” Id. (citation

omitted). Indeed, evidence showing that the City has substantially complied with

the Citizen Complaint provisions over the past several months demonstrates that the

City’s significant efforts to enhance compliance are working and that no

modification “is essential” to remedy alleged violations. Continued compliance in

the coming months would weigh even more strongly against any such modification.




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      Plaintiffs also fail to provide evidence to support their broad-brushed request

to extend the monitoring provisions for the other requirements of the 2018 Order.

“[A]n unadjudicated allegation by one party is not a proper basis for extending a

consent decree.” Holland, 246 F.3d at 285. The Court instead must make “specific

findings” of “changed circumstances that thwarted the basic purpose behind the

Decree such that the Decree failed to accomplish its designed result,” and the Court

must do so for each provision that it considers whether to extend. Id. at 285–86.

The Court plainly cannot do so on the current record as to the City’s compliance

with the other provisions of the 2018 Order.13 Plaintiffs’ speculation that areas of

“great progress . . . may backslide” without an extension of all monitoring

provisions (which apparently includes even those provisions with which Plaintiffs

concede the City has complied), Dkt. 531 at 42, plainly does not support a broad-

based extension that may be permissible only if Plaintiffs first prove it is “essential

to remedy” a violation. Holland, 246 F.3d at 283; see also id. at 286 (emphasizing




13
  Plaintiffs request to extend any monitoring provision is procedurally improper.
The March 2023 Order did not address or contemplate a potential extension of those
provisions. The October 2023 Order similarly ordered Plaintiffs only “to calculate
the exact amount of sanctions required [under the March 2023 Order] and submit
the figure to the Court within 14 days of this order for review.” Dkt. 512 at 2.

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that “extension of the entire Decree based on [the defendant’s] non-compliance with

only one minor part of it would not be reasonable”).14

      The Court should reject Plaintiffs’ premature and improper request to extend

the 2018 Order’s sunset provisions.



      Respectfully submitted this 29th day of February, 2024.

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14
   Plaintiffs erroneously contend that “[t]he only argument against extending
monitoring is the administrative burden” imposed on the City. Dkt. 531 at 39. “[A]
court may use its compliance enforcement power to extend one or more provisions
of a decree only if such compliance enforcement is essential to remedy the violation.”
Holland, 246 F.3d at 283 (emphasis added). Regardless of the substantial costs of
ongoing monitoring for three more years, Plaintiffs have failed to prove an extension
of the monitoring provisions is “essential.”

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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GEOFFREY CALHOUN, et al.                      )
                                              )
                   Plaintiffs,                )
                                              )
      v.                                      ) Case No. 1:09-CV-3286-TCB
                                              )
RICHARD PENNINGTON, et al.                    )
                                              )
                   Defendants.                )
                                              )


                            FONT CERTIFICATION

      Pursuant to Local Rule 7.1(D), the undersigned counsel certifies that this

filing complies with the type and font requirements set forth in Local Rule 5.1.

      Respectfully submitted this 29th day of February, 2024.

                                              /s/ Thomas E. Reilly
                                              Thomas E. Reilly




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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
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GEOFFREY CALHOUN, et al.                    )
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                  Plaintiffs,               )
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      v.                                    ) Case No. 1:09-CV-3286-TCB
                                            )
RICHARD PENNINGTON, et al.                  )
                                            )
                  Defendants.               )

                        CERTIFICATE OF SERVICE

      I hereby certify that on February 29, 2024, I served the foregoing

DEFENDANT’S SUR-REPLY TO PLAINTIFFS’ REPORT TO COURT RE

CITIZEN COMPLAINT SANCTIONS on all counsel of record in this matter via

this Court’s CM/ECF e-filing system.

      Respectfully submitted this 29th day of February, 2024.

                                            /s/ Thomas E. Reilly
                                            Thomas E. Reilly




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